                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                                 5:12-CV-00076-RLV
                            (5:06-CR-00022-RLV-CH-22)

KAREN DENISE WITHERSPOON,                       )
                                                )
               Petitioner,                      )
                                                )
       v.                                       )            ORDER
                                                )
UNITED STATES OF AMERICA,                       )
                                                )
               Respondent.                      )
                                                )

       THIS MATTER is before the Court on initial review of Petitioner’s Motion to Vacate,

Set Aside or Correct Sentence filed under 28 U.S.C. § 2255. (Doc. 1.) No response is necessary

from the Respondent. For the reasons that follow, Petitioner’s Section 2255 Petition will be

denied and dismissed.

                                       I. BACKGROUND

       On April 26, 2006, Petitioner was named in counts one and twenty-nine of a sealed

indictment returned by a grand jury sitting in the Western District of North Carolina. Count one

charged Petitioner was conspiring to possess with intent to distribute a quantity of cocaine and

cocaine base, in violation of 21 U.S.C. § 846. Count twenty-nine charged Petitioner with

unlawfully possessing with intent to distribute five grams or more of cocaine base, in violation

of 21 U.S.C. § 841. (5:06-cr-22, Doc. 3 at 2–4, 15–16.) On May 8, 2006, the Respondent filed a

notice of intent to seek enhanced penalties pursuant to 21 U.S.C. § 851. (Doc. 41.) On December

8, 2006, Petitioner entered into a plea agreement with the Respondent wherein she agreed to

plead guilty to count one of the indictment in return for the Respondent’s agreement to dismiss


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county twenty-nine. (5:06-cr-22, Doc. 304.) On December 19, 2006, Petitioner appeared with

counsel before the magistrate judge for a Rule 11 hearing. After conducting the standard

colloquy, the magistrate judge accepted Petitioner’s plea of guilty. (5:06-cr-22, Doc. 312.) On

September 10, 2007, Petitioner appeared with counsel before the Court for her sentencing

hearing. The Court dismissed count twenty-nine and sentenced Petitioner to 324 months of

active imprisonment for conviction of count one. (5:06-cr-22, Doc. 485.) Petitioner filed a timely

notice of appeal to the United States Court of Appeals for the Fourth Circuit. On October 13,

2009, the Fourth Circuit entered an Order granting the Respondent’s motion to dismiss

Petitioner’s appeal. United States v. Karen Denise Witherspoon, No. 07-4967(L) (4th Cir. Oct.

13, 2009). On June 11, 2012, Petitioner filed the instant Section 2255 Motion.

                                         II. DISCUSSION

       Petitioner contends that in DePierre v. United States, 131 S. Ct. 2225 (June 9, 2011), the

Supreme Court of the United States created a new rule of law that is retroactively applicable on

collateral review. (Doc. 1 at 2).

       The Antiterrorism and Effective Death Penalty Act provides for a one-year statute of

limitations for filing a petition for writ of habeas corpus. 28 U.S.C. § 2255(f) provides, as is

relevant to the present case, that the “limitation shall run from the latest of the following: (1) the

date on which the judgment of conviction becomes final; . . . [or] (3) the date on which the right

asserted was initially recognized by the Supreme Court, if that right has been newly recognized

by the Supreme Court and made retroactively applicable to cases on collateral review.” 28

U.S.C. § 2255(f)(1), (3).

       On September 25, 2007, Petitioner was convicted and sentenced, and on October 13,

2009, the Fourth Circuit entered an Order dismissing her appeal. There is no indication

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Petitioner filed a petition for a writ of certiorari with the Supreme Court of the United States.

Therefore, Petitioner’s conviction has been final for nearly three-and-one-half years. Petitioner

did not file the present Section 2255 Motion until June 11, 2012. Petitioner’s Motion is clearly

untimely under the provisions of Section 2255(f)(1) and would be dismissed on that ground

alone. Nevertheless, Petitioner explains that her Section 2255 Motion is timely because it is filed

within one year of the date the Supreme Court filed its decision in DePierre.1

       The Court disagrees. Although Petitioner’s Section 2255 was filed within one year of the

date the Supreme Court filed its decision in DePierre, that is of no moment as there is no

indication that the Supreme Court has made DePierre retroactive to cases on collateral review.

See United States v. Crump, 2012 WL 604140, at *2 (W.D. Va. Feb. 24, 2012); United States v.

Drew, 2012 WL 2069657, at *2 (N.D. W. Va. June 8, 2012). Petitioner therefore does not

qualify for relief under Section 2255(f)(3). Petitioner’s Section 2255 must be denied and

dismissed.

                                        IV. CONCLUSION

       IT IS, THEREFORE, ORDERED that Petitioner’s Section 2255 Motion (Doc. 1) be

DENIED and DISMISSED.

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules Governing

Section 2255 Cases, this Court declines to issue a certificate of appealability as Petitioner has not

made a substantial showing of a denial of a constitutional right. 28 U.S.C. § 2253(c)(2); Miller-

El v. Cockrell, 537 U.S. 322, 336–38 (2003) (stating that in order to satisfy section 2253(c), a


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        Petitioner is clearly aware that her petition could be found untimely under the provisions
of Section 2255(f), and she carefully addresses the issue of timeliness in her Motion.
Accordingly, the Court finds that Petitioner does not need notice as provided by Hill v. Braxton,
277 F.3d 701, 704 (4th Cir. 2002).

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petitioner must demonstrate that reasonable jurists would find the district court’s assessment of

the constitutional claims debatable or wrong); Slack v. McDaniel, 529 U.S. 474, 484 (2000)

(holding that when relief is denied on procedural grounds, a petitioner must establish both that

the correctness of the dispositive procedural ruling is debatable and that the petition states a

debatably valid claim of the denial of a constitutional right).

                                                  Signed: June 21, 2012




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